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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                           CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                    CLERK OF COURT

Date: October 22, 2021                                         DC Docket #: 19-cv-6078
Docket #: 20-3855cv                                            DC Court: SDNY (NEW YORK
Short Title: Bromfield-Thompson v. American University of      CITY)
Antigua                                                        DC Judge: Furman



                          VERIFIED ITEMIZED BILL OF COSTS



Counsel for
_________________________________________________________________________

respectfully submits, pursuant to FRAP 39 (c) the within bill of costs and requests the Clerk to
prepare an itemized statement of costs taxed against the
________________________________________________________________

and in favor of
_________________________________________________________________________

for insertion in the mandate.

Docketing Fee      _____________________

Costs of printing appendix (necessary copies ______________ ) _____________________

Costs of printing brief (necessary copies ______________ ____) _____________________

Costs of printing reply brief (necessary copies ______________ ) _____________________



(VERIFICATION HERE)

                                                                 ________________________
                                                                 Signature
